     Case 1:20-cv-00431-DAD-EPG Document 370 Filed 01/24/22 Page 1 of 4


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13                             UNITED STATES DISTRICT COURT
14                        FOR THE EASTERN DISTRICT OF CALIFORNIA

15
       PACIFIC COAST FEDERATION OF                       Case No. 1:20-cv-00431-DAD-EPG
16     FISHERMEN’S ASSOCIATIONS, et al.,
                                                         PLAINTIFFS’ REQUEST FOR JUDICIAL
17                       Plaintiffs,                     NOTICE IN SUPPORT OF PLAINTIFFS’
                                                         REPLY IN SUPPORT OF MOTION FOR
18               v.                                      PRELIMINARY INJUNCTION FOR 2022
19     GINA RAIMONDO, in her official
       capacity as Secretary of Commerce, et al.,        Hearing date: February 11, 2022
20                                                       Judge: Hon. Dale A. Drozd
                         Defendants.
21                                                       Courtroom 5, 7th Floor
                                                         2500 Tulare Street
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                                                         Fresno, California 93721
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                                       PLS.’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLS.’ REPLY
                                                                      Case No. 1:20-cv-00431-DAD-EPG
     Case 1:20-cv-00431-DAD-EPG Document 370 Filed 01/24/22 Page 2 of 4


 1           Plaintiffs hereby request that the Court take judicial notice, pursuant to Rule 201 of the

 2   Federal Rules of Evidence, of Exhibits P through W to the accompanying Supplemental

 3   Declaration of Barbara Chisholm filed together with Plaintiffs’ Reply brief in support of their

 4   Motion for Preliminary Injunction for 2022 (“Supplemental Chisholm Declaration”).

 5           Under Federal Rule of Evidence 201, a trial court must take judicial notice of facts “if a

 6   party requests it and the court is supplied with the necessary information.” Fed. R. Evid. 201(c)(2).

 7   A fact is appropriate for judicial notice if it is not subject to reasonable dispute, in that it is capable

 8   of accurate and ready determination by resort to sources the accuracy of which cannot reasonably

 9   be questioned. Fed. R. Evid. 201(b)(2).

10           Exhibits P through W of the Supplemental Chisholm Declaration are public records of a

11   state or federal administrative agency. Judicial notice may be taken of public records, as well as

12   facts within public records that are not subject to reasonable dispute. See Santa Monica Food Not

13   Bombs v. City of Santa Monica, 450 F.3d 1022, 1025 n.2 (9th Cir. 2006); United States v. Howard,

14   381 F.3d 873, 876 n.1 (9th Cir. 2004) (approving judicial notice of facts from court records of

15   another case); Lee v. City of Los Angeles, 250 F.3d 668, 690 (9th Cir. 2001) (approving judicial

16   notice of undisputed facts in public records). Each of the documents in Exhibits P through W is an

17   official report, presentation, or notice prepared by a public agency; correspondence between public

18   officials; or data compiled and published by a public agency. Such records and reports of a

19   governmental body are public records and are the proper subject of judicial notice. Barron v.

20   Reich, 13 F.3d 1370, 1377 (9th Cir. 1994). Additionally, each document has been properly

21   authenticated pursuant to Federal Rule of Evidence 901(b)(7) in the accompanying Supplemental

22   Chisholm Declaration.

23           In addition, the facts contained in the public records appended to the Supplemental

24   Chisholm Declaration as Exhibits P through W are admissible and do not constitute hearsay. The

25   facts contained in the public records appended as Exhibits P through W are records or statements

26   of a public office setting out “the office’s activities,” “matter[s] observed while under a legal duty

27   to report,” and/or “factual findings from a legally authorized investigation.” Fed. R. Evid.

28   § 803(8)(A)(i)–(iii). These facts therefore fall within the public records exception to the rule

                                          PLS.’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLS.’ REPLY
                                                     1                   Case No. 1:20-cv-00431-DAD-EPG
     Case 1:20-cv-00431-DAD-EPG Document 370 Filed 01/24/22 Page 3 of 4


 1   against hearsay. Fed. R. Evid. § 803(8). The facts contained in the public records appended as

 2   Exhibits Q through U also constitute statements of a party opponent under Federal Rule of

 3   Evidence § 801(d)(2) and thus do not constitute hearsay.

 4                                               Respectfully submitted,

 5

 6   Dated: January 24, 2022                     /s/ Barbara J. Chisholm               .
                                                 Barbara J. Chisholm
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13                                               Association, Natural Resources Defense Council,
                                                 Inc., Defenders of Wildlife, and Bay.Org d/b/a The
14                                               Bay Institute

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16   Dated: January 24, 2022                     /s/ Glen H. Spain                          .
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                                                 Fishermen’s Associations and Institute for Fisheries
21                                               Resources

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                                       PLS.’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLS.’ REPLY
                                                  2                   Case No. 1:20-cv-00431-DAD-EPG
     Case 1:20-cv-00431-DAD-EPG Document 370 Filed 01/24/22 Page 4 of 4


 1                                        PROOF OF SERVICE

 2   CASE:         Pacific Coast Federation of Fishermen’s Associations, et al. v. Raimondo, et al.

 3   CASE NO:      U.S. Dist. Ct., E.D. Cal., Case No. 1:20-cv-00431-DAD-EPG
 4         I am employed in the City and County of San Francisco, California. I am over the age of
 5   eighteen years and not a party to the within action; my business address is 177 Post Street, Suite
 6   300, San Francisco, California 94108. I hereby certify that on January 24, 2022, I electronically
 7   filed the following with the Clerk of the Court for the United States District Court for the Eastern
 8   District by using the CM/ECF system:
 9     PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFFS’
       REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION FOR 2022
10

11           All participants in the case are registered CM/ECF users and will be served by the

12   CM/ECF system.

13                 I declare under penalty of perjury under the laws of the State of California that the

14   foregoing is true and correct. Executed this 24th day of January, 2022, at Berkeley, California.

15

16                                                        /s/ Barbara J. Chisholm
                                                            Barbara J. Chisholm
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                                                                                       PROOF OF SERVICE
                                                   1                       Case No. 1:20-cv-00431-DAD-EPG
